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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                       §
                                               §
  3443 ZEN GARDEN, LP.                         §       CASE NO. 20-10410-HCM
                                               §
                        Debtor.                §

   CURE CLAIM OBJECTION OF AUSTIN GLASS & MIRROR, INC., ACM SERVICES,
   LLC, SUMMER LEGACY, LLC, KOETTER FIRE PROTECTION OF AUSTIN, LLC,
    CAPITAL INDUSTRIES, LLC, HILL COUNTRY ELECTRIC SUPPLY, LP, LYLE
    AMERICA, INC. D/B/A GLASS.COM OF ILLINOIS, FERGUSON ENTERPRISES,
    LLC, AMERICAN BUILDERS & CONTRACTORS SUPPLY CO., INC. D/B/A ABC
                    SUPPLY CO., INC., AND TEXAS AIR, LLC
                           [Relates to Docket No. 203]
       COME NOW Austin Glass & Mirror, Inc. (“Austin Glass”), ACM Services, LLC

  (“ACM”), Summer Legacy, LLC (“Summer Legacy”), Koetter Fire Protection of Austin, LLC

  (“Koetter”), Capital Industries, LLC (“Capital Industries”), Hill Country Electric Supply, LP

  (“HCES”), Lyle America, Inc. d/b/a Glass.com of Illinois (“Glass.com”), Ferguson Enterprises,

  LLC (“Ferguson”), American Builders & Contractors Supply Co., Inc. d/b/a ABC Supply Co.,

  Inc. (“ABC”), and Texas Air Industries, LLC (“Texas Air”) (collectively, the “Objecting Parties”)

  and file this Cure Claim Objection. In support thereof, the Objecting Parties respectfully state as

  follows:

         1.       Austin Glass has an agreement signed by the Debtor and Panache Development &

  Construction, Inc (“Panache”). This agreement is not identified on the Notice of Proposed Cure

  Costs. The amount outstanding and payable to satisfy the monetary requirements of section

  365(b)(1)(A) if this agreement is executory and proposed to be assumed by the Trustee is

  $686,374.14. Austin Glass reserves all rights and positions regarding any proposed assumption of

  its agreement




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         2.      ACM has four agreements signed by the Debtor and Panache. The first agreement

  covers Phase 1 Central Plant Chillers. The second agreement covers electrical work in connection

  with buildings F, H and J “shell building.” The third agreement covers Phase 4 Power Distribution.

  The fourth agreement covers electrical work related to the Work Well Co-Working Space. These

  agreements are not identified on the Notice of Proposed Cure Costs. The amount outstanding and

  payable to satisfy the monetary requirements of section 365(b)(1)(A) if these agreements are

  executory and proposed to be assumed by the Trustee is $401,520.90.

         3.      Summer Legacy has five agreements signed by the Debtor and Panache. These five

  agreements cover work for roofing, steel erection, framing, insulation, and drywall, exterior metal

  paneling, and painting. These agreements are not identified on the Notice of Proposed Cure Costs.

  The amount outstanding and payable to satisfy the monetary requirements of section 365(b)(1)(A)

  if these agreements are executory and proposed to be assumed by the Trustee is $932,577.90

         4.      Additionally, in adversary proceeding number 20-1048, Austin Glass, ACM,

  Summer Legacy, Koetter, Capital Industries, HCES, Glass.com, Ferguson, ABC, and Texas Air

  have each asserted that they have a direct contractual relationship with the Debtor recognizable

  under Texas Property Code § 53.026. These agreements are not identified on the Notice of

  Proposed Cure Costs. The following amounts outstanding and payable to satisfy the monetary

  requirements of section 365(b)(1)(A) if these agreements are executory and proposed to be

  assumed by the Trustee are:

                 a. Austin Glass - $686,374.14;

                 b. ACM - $401,520.90;

                 c. Summer Legacy - $932,577.90;

                 d. Koetter - $341,688.09;




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                 e. Capital Industries - $600,224.24;

                 f. HCES - $84,751.82;

                 g. Glass.com - $442,600;

                 h. Ferguson - $88,013.52;

                 i. ABC - $142,840.19; and

                 j. Texas Air - $67,007.00.

         5.      Based upon the foregoing, Austin Glass, ACM, Summer Legacy, Koetter, Capital

  Industries, HCES, Glass.com, Ferguson, ABC, and Texas Air each respectively object to the

  proposed cure amounts submitted by the Trustee in Docket No. 203, and respectfully request that

  the Bankruptcy Court condition any proposed assumption of their respective agreements with the

  Debtor upon cure of the above identified monetary defaults. The Objecting Parties reserve all other

  rights and positions as to any proposed assumption, including the assignability of their respective

  contracts and all issues relating to adequate assurance of future performance under such contracts.

         WHEREFORE, PREMISES CONSIDERED, Austin Glass, ACM, Summer Legacy,

  Koetter, Capital Industries, HCES, Glass.com, Ferguson, ABC, and Texas Air each:

         (a)     respectively object to the proposed cure amounts and respectfully request that the

  Bankruptcy Court condition any proposed assumption of their respective agreements with the

  Debtor upon cure of the above identified monetary defaults; and

         (b)     request such other and further relief to which they may be justly entitled.




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  Dated: September 18, 2020           Respectfully submitted,

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                                      LLC, CAPITAL INDUSTRIES, LLC, HILL
                                      COUNTRY ELECTRIC SUPPLY, LP, LYLE
                                      AMERICA, INC. D/B/A GLASS.COM OF
                                      ILLINOIS, SUMMER LEGACY, LLC, AND
                                      TEXAS AIR INDUSTRIES, LLC

                                      -AND-

                                        /s/ Misti L. Beanland
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                                               -AND-

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                                               ATTORNEYS FOR AMERICAN BUILDERS &
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                                               SUPPLY CO., INC.

                                  CERTIFICATE OF SERVICE
          I certify that on September 18, 2020, a true and correct copy of the forgoing was served on
  the following parties at the indicated email addresses:

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                                             /s/ Kell C. Mercer
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